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 7                                        UNITED STATES DISTRICT COURT

 8                                               DISTRICT OF NEVADA

 9
     MARIA MATARAZZO, an individual,                             CASE NO.: 2:19-cv-00529-JCM-VCF
10
              Plaintiff,
11                                                               JOINT REQUEST FOR EXTENSION OF
     vs.                                                         TIME TO FILE JOINT PRE-TRIAL
12                                                               ORDER DUE TO SETTLEMENT IN
     GEICO CASUALTY COMPANY, a                                   PRINCIPLE
13   Maryland corporation; DOES I-X, and ROE
     CORPORATIONS I-X;
14
             Defendants.
15

16
                    Plaintiff. MARIA MATARAZZO, and Defendant, GEICO CASUALTY COMPANY, by
17
     and through their respective counsel, hereby submit their proposed Joint Request for Extension of
18
     Time to file their Joint Pre-Trial Order (“Pre-Trial Order”), as the parties have reached a settlement
19
     in principle and need a few weeks to complete the settlement.
20
                    Today is the deadline for the parties to file a Joint Pre-Trial Order, however, as the parties
21
     have just reached a settlement in principle today, September 28, 2020, the parties as that the court
22

23   either vacate the currently scheduled deadline for the Pre-Trial order or, extend the time for filing

24   same by four (4) weeks for the parties to accomplish the settlement and submit a stipulation for

25   dismissal.
26
     ///
27
     ///
28

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 1                  Accordingly, the parties request an extension to file the Joint Pre-Trial Order for four (4)

 2   weeks, or until October 26, 2020.
 3

 4
     Dated: September 28, 2020                            Dated: September 28, 2020
 5

 6   By /s/ Marc. A. Saggese                                          By /s/ Matthew J. Douglas
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                                                                          ATTORNEY FOR DEFENDANT
10

11
                                                         ORDER
12

13                  Upon Joint Request and Stipulation by counsel for the parties, and good cause appearing
14   therefore,
15                  IT IS HEREBY ORDERED that the deadline for the parties to file the Joint Pre-Trial
16   Order is extended until October 26, 2020.
17
                                                           IT IS SO ORDERED.
18

19
                                                           ___________________________________
20
                                                           Cam Ferenbach
21                                                         United States Magistrate Judge

22                                                                  10-2-2020
23                                                         Dated:_____________________________

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